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                  IN THE UNITED STATES DISTPQCT COURT
                       FOR THE DISTRICT OF MONTANA
                             GREAT FALLS DIVISION




  UNITED STATES OF AMERICA,
                                                   CR06-80-GF-SPW-JTJ
                       Plaintiff,

  vs.                                               ORDER


  SEASON HOPE EAGLEMAN,

                       Defendant.


        On September 30, 2020,the United States Magistrate Judge entered

Findings and Recommendations with respect to the July 14, 2020 petition for

revocation of Defendant Season Hope Eagleman's supervised release. (Docs. 103

and 90). Eagleman was notified of her right to file objections to the Findings and

Recommendations within 14 days. Eagleman voluntarily waived this right.

Consistent with the Court's "full authority" to review the Findings and

Recommendations under any standard it deems appropriate, Thomas v. Arn, 474

U.S. 140, 154(1958),the Court reviews for clear error. Clear error exists if the

Court is left with a "definite and firm conviction that a mistake has been

committed." United States v. Syrax, 235 F.3d 422,427(9* Cir. 2000).

        Based on Eagleman's admissions to the alleged violations, the Magistrate

recommends her supervised release be revoked. The Magistrate further
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